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                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF VIRGINIA
                                   ALEXANDRIA DIVISION

       UNITED STATES, et al.,

                             Plaintiffs,

             vs.
                                                                 No. 1:23-cv-00108-LMB-JFA
       GOOGLE LLC,

                             Defendant.




                                      REQUEST FOR HEARING

            Defendant, Google LLC (“Google”), has filed Google LLC’s Motion to Reset the Trial

     Date (Dkt. No. 532). If the Court does not grant relief prior to February 23, 2024, Google

     requests that oral argument on this motion be heard at the status conference hearing now set

     for February 23, 2024 (Dkt. No. 525). Google will promptly alert the Court should the District

     of Delaware rule on Qualcomm’s pending motion to continue, which would render Google’s

     motion to reset the trial date moot.

      Dated: February 13, 2024                         Respectfully submitted,

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